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                                                                               Marilyn Burgess - Oistrict Cierk Hatris County
                                                                                                    EnvelopeNo.39212717
                              2019-87934 / Court: 333                                                      By: Joshua Carroll
                                                                                                 Filed: 1 2/1 2/201 9 3:42 PM

                                      CAUSE NO.

KLMBERLY WH1TE                                    §               iN TEf.E DISTRICT COURT OF
                                                  §
               Pltiintiff,                        §
                                                  §
V.                                                §               HARRIS COUNTY, TEXAS
                                                  §
KROGER TEXAS, L.P.                                §
                                                  §
               Pefendcint.                        §                      JUDICIAL DISTRICT


        PLAINTIFF'S ORIGINAL .PETIT.ION AND FIRST SET OF .DISCOVERY

1.     Plaintiff, Kimberly White (hereinafter "Plaintiff), complains of Defendant, Kroger Texas,

L.P., (hereinafter "Defendant"), and would respectfully show the Court that:

                                       Discovery Control Pian

2.     Plaintiff intends to conduct discovery in this >natter under Level 3 of the Texas Rules of

Civil Procedure.

                                       ,Dtirisdiction and Venue

3.      The claims asserted arise under the common law of Texas. This Court has jurisdiction and

venue is proper because all or a substantial part of the events or omissions giving rise to the claim

occurred in Harris County, Texas.

                             Statement Regarding Monetary Relief Sought

4.      Pursuant to Texas Rule of Civil Procedure 47(c), Plaintiff seeks monetary relief of no more

than $100,000.00, including damages of any kind, penalties, costs, expenses, pre judgment

interest, and attorneys' fees and judgment for all other relief to whicli Plaintiff is justly entitled.

Plaintiff further pleads that the amount in controversy in this matter does not exceed $75,000.00.

Plaintiff expressly reserves the riaht to amend this Rule 47 statenient of relief if necessary.




                                                   n




                                         Exhibit A
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                                                Parties

5.      Plaintiff, Kimberly White, is an individual residing in Harris County, Texas.

6.      Defendant, Kroger Texas, L.P., (hereinafter, "Defendant") is an Ohio corporation engaged

in business in Harris County, Texas. Defendant Kroger may be served with process by and through

its registered agent, Corporation Service Company d/b/a CSC-Lawyers Incorporating Service at

211 E. 7`i' Street, Suite 620, Austin, TX 78701.

                                                 Facts

7.      This lawsuit is necessary as a result of personai injuries that Plaintiff received on or about

November 10, 2019. At that time, Plaintiff was an invitee at Defendant's Antoine Town Center

store#366 located at 12434 State Highway 249, Houston, TX 77086. Plaintiffwas sliopping in the

bread aisle when she slipped on a crushed tomato and fell. Plaintiff suffered serious and permanent

itijuries as a result of slipping on the hangar hook and falliiig to the floor.

8.      At the time of tiie incident in duestion, Plaintiff was an invitee of Defendant. Defendant

knew or should have known of the unreasonably daiigerous condition and neither corrected nor

wamed .Plaintiff of it. Plaintiff did not have any knowledge of the dangerous condition and could

not have reasonably been expected to discover it, Defendant either created the condition and/or

failed to correct the condition or to warn Plaintiff about the dangerous condition, wlhicli constituted

negl.igence, and such negligence was a proximate cause of the occurrence in question and

Plaintiff's resulting injuries.

9.      Plaintiff would show that, based on the above-described facts, Defendant was negli?ent.

Defendant, as occupier and owner of the premises, with control over the premises, liad a duty to

inform Plaintiff of the dangerous condition and inake safe the defective cottdition existing oii

Defendant's premises.




                                                    2




                                          Exhibit A
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10.    Defendant is liable to Plaintiff under the theory of premises liability and negligence based

on the following negligent conduct:

       a)      failure to inspect the premises where the dangerous condition existed;

       b)      failure to warn Plaintiff of the existence of the dangerous condition;

       c)      failure to take reasonable measures to correct the dangerous condition;

       d)      failure to maintain the building in question in a reasonably safe condition
               and free of hazards to Plaintitt and other invitees entering the building;

       e)      failure to take reasonable measures to protect Plaintiff and otlier invitees
               from foreseeable risk of hann; and

       f)      other acts deemed negligent

11.    Each of the foregoing negligent acts and/or omissions, wliether taken singularly or in any

combination, was a. proximate cause of Pla.intift's injuries and damages that are described below.

12.    Defendant was also negligent in that it failed to act as reasonably prudent premise owner

would act in the same or similar situation.

                                              Daniages

13.    As a result of these acts or omissions, Plaintiff sustained damages recognizable by law.

14.    By virtue of the actioiis and conduct of the Defendant set forth above, Plaintiff was

seriously injured and is entitled to recover the following damages:

               a. Past aiid future medical expenses;

               b. Past and future pain, suffering, and mental anguish;

               c. Past and future physical impairment;

               d. Past and future physicai disfigurement; and

               e. Past lost wages and future loss of earning capacity.




                                                 3




                                       Exhibit A
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15.      By reason of the above, Plaintiff is entitled to recover damages from the Defendant in an

amount within the jurisdictional limits of this Court, as well as pre and post judgment interest.

                                      Recguest for Disclosures

16.      Pursuant to Rule 194, Tex. R. Civ. P., Plaintiff requests that Defendant disclose, within

fifty days of this request, the information or materials described in Texas Rule of Civil Procedure

194. 2(a)-(] ).

                                          Otfier Discovery

17.      Plaintiff refers you to the attached Request for Admissions, Interrogatories, and Request

for Production and notifies you that a response is required within 50 days of service of these

requests.

                                         Rule 1.93.7 Notice

18.      Plaintiff hereby gives actual notice to Defendant that any and all documents produced may

be used against Defendant at any pre-trial proceeding and/or at trial of this matter without the

necessity of authenticating the documents.

                                                Pra er

19.      Plaintiff prays that this citation issue and be served upon Defendant in a fonn and manner

prescribed by law, requiring that Defendant appear and answer, and tha.t upon final hearing,

Plainti ff
         . has judgment against Defendant in a total sum in excess of the minimum jurisdictional

limits of this Court, plus pre judgnient and post judgment interests, all costs of Court, and all such

other and further relief, to iuhich she may be justly entitled.


                                                       [Signature Block on Next Page]




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                                         Exhibit A
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                                     Respectfully submitted,

                                     DASPI.T LAW FlRM, PLLC

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                                     ATTORNEYS FOR PLAINTIFF




                           Exhibit A
